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                       Exhibit 22
        FILED UNDER SEAL
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   1                   UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
   2
   3
         IN RE:     XARELTO              )
   4     (RIVAROXABAN) PRODUCTS          )
         LIABILITY LITIGATION            )   MDL No.:      2592
   5                                     )   Section:      L
                                         )   Judge Eldon E. Fallon
   6                                     )   Mag. Judge North
                                         )
   7     THIS DOCUMENT RELATES           )
         TO ALL CASES                    )
   8
   9
  10
  11    PROTECTED - SUBJECT TO FURTHER PROTECTIVE REVIEW
  12                                VOLUME I
  13
  14        Videotaped Deposition of LAURA M. PLUNKETT,
  15    Ph.D., taken on Tuesday, December 6, 2016, in the
  16    office of The Lambert Firm, A.P.L.C., 701 Magazine
  17    Street, New Orleans, Louisiana 70130, commencing
  18    at 8:02 a.m.
  19
  20
  21
  22
  23
        Reported by:
  24    AURORA M. PERRIEN
        CERTIFIED COURT REPORTER
  25    REGISTERED PROFESSIONAL REPORTER

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   1                   A P P E A R A N C E S
   2    REPRESENTING PLAINTIFFS:
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   7             WARSHAUER, L.L.C., at times noted
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  12    INC., and BAYER PHARMA AG:
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   1    REPRESENTING JANSSEN PHARMACEUTICALS, INC.,
        JANSSEN RESEARCH & DEVELOPMENT, L.L.C., JANSSEN
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   3             IRWIN, FRITCHIE, URQUHART & MOORE, L.L.C.
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   9             Msossamon@irwinllc.com
  10
  11    ALSO PRESENT:
  12             MELISSA BARDWELL, VIDEOGRAPHER
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   1                     You're giving me a headache.
   2               MR. DENTON:
   3                     -- to get the judge on the phone.
   4               MR. HOROWITZ:
   5                     Okay.
   6               MR. DENTON:
   7                     I'm sorry for giving you a headache.
   8    BY MR. HOROWITZ:
   9         Q.    So -- so --
  10               MR. DENTON:
  11                     But I am going to object.
  12    BY MR. HOROWITZ:
  13         Q.    -- Dr. Plunkett, let's go back to my
  14    questions.       I can't remember where I was.
  15               But you never spoke to the ClinPharm
  16    reviewer or the medical officers who reviewed
  17    Xarelto about your opinions of Xarelto; correct?
  18         A.    No.    I already answered that for you.
  19         Q.    Okay.    And you've never offered these
  20    opinions that you're offering in your report in
  21    this litigation anywhere else other than in this
  22    litigation.       Is that fair?
  23         A.    At this point in time that is true.              Yes.
  24         Q.    And you didn't hold these opinions -- I
  25    think we talked about that -- before you were

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   1               With respect to your opinion specifically
   2    about Xarelto in your opinion section, those were
   3    opinions that you formed after you were hired and
   4    -- to do your in-depth review by the plaintiffs'
   5    lawyers.     Is that fair?
   6               MR. DENTON:
   7                    Object to the form.
   8               THE WITNESS:
   9                    Certainly they were formed after my
  10               in-depth review.        That is true.
  11    BY MR. HOROWITZ:
  12         Q.    And the in-depth review occurred after you
  13    spoked to Mr. McWilliams and he retained you for
  14    this litigation?
  15         A.    Yes.    That is true.
  16         Q.    If you take a look at your report -- or
  17    you may not need to look.           But I'll tell you what
  18    I'm -- from my notes what I'm looking at.                It's
  19    Page 1, Paragraph 1.         I just want to ask you about
  20    this phrase.       You say "Integrative Biostrategies"
  21    -- I know I'm skipping some things -- "works at
  22    the interface of biological science, regulatory
  23    affairs and business decisions to provide its
  24    clients with science-based solutions."
  25               Do you see that?

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   1    article on in vitro assays?
   2         A.    On the use of the data.          But on the
   3    development of the assay?           I don't know.       Are you
   4    asking me like a general background article or --
   5    or my --
   6         Q.    Let me ask it again.
   7         A.    -- application?
   8         Q.    I don't care about general back -- because
   9    I know what you've done.           I -- I just have to ask
  10    these questions to create a little bit of a
  11    record.
  12               But I'm going to limit it to say -- have
  13    you ever published a peer-reviewed article on PT
  14    assays or any assay related to anticoagulation?
  15         A.    No.    I have not done that.
  16         Q.    Do you have any peer-reviewed work or
  17    publication on whether particular assays are
  18    appropriate to measure rivaroxaban or any other
  19    NOAC?
  20         A.    Have I ever published that?           No.    I have
  21    not.
  22               MR. HOROWITZ:
  23                     It's -- why don't we -- it's just that
  24               it's a good --
  25               MR. DENTON:

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   1         A.    Well, there are in certain contexts, yes.
   2               You can calculate a therapeutic index
   3    based on the comparison of animal data, for
   4    example, for looking at effective doses and toxic
   5    doses.     You can -- you can calculate a therapeutic
   6    index that's based on looking at the ED50 values
   7    and then the TD1 value, and you can come up with a
   8    calculation.       So yes, you -- you can do that.
   9               But you have to have dose-response data to
  10    be able to do that, and that's what's lacking in
  11    this case.      We don't have dose-response data in
  12    a-fib patients in order to calculate an exact
  13    therapeutic index.
  14         Q.    So you have not calculated an exact
  15    therapeutic index?
  16         A.    For -- for -- for this particular
  17    indication, no, because I don't believe it can be
  18    done based on the -- the data -- the clinical data
  19    that you have, which is a single-dose study.
  20         Q.    Do you agree that a patient can have a
  21    bleed even if they have no rivaroxaban in their
  22    blood?
  23               MR. DENTON:
  24                    Object to the form.
  25               THE WITNESS:

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   1         Q.    Are you offering an opinion about the
   2    plasma concentrations that define a therapeutic
   3    range for rivaroxaban?
   4         A.    No.    I have not formed opinion on the
   5    exact concentrations, although I have formed some
   6    opinions based on data for ROCKET, which shows you
   7    what the variability is and what that variability
   8    -- how that variability impacts the safety of the
   9    drug.     So I -- I formed opinions on plasma levels,
  10    but not exactly in the way that you're asking me.
  11         Q.    Right.    So could you answer my question
  12    that I'm asking, which is:           You are not offering
  13    an opinion about the plasma concentrations that
  14    define a therapeutic range for rivaroxaban.                 Is
  15    that fair?
  16         A.    And my answer to --
  17               MR. DENTON:
  18                     Object to the form.
  19               THE WITNESS:
  20                     -- that question was:         There is no
  21               answer to that question because we don't
  22               have the data to -- to define that.
  23    BY MR. HOROWITZ:
  24         Q.    You don't know the boundaries of the
  25    therapeutic range; right?

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   1                     Object to the form.
   2                THE WITNESS:
   3                     I have not formed that opinion.            No.
   4                But certainly I would agree with that.
   5                That is true.      I mean, I do think that the
   6                company -- the company could improve the
   7                patient safety by doing that study.             I
   8                think you have enough information current
   9                how -- currently, however, to support a --
  10                information be included in the labeling
  11                about the utility of the monitoring --
  12    BY MR. HOROWITZ:
  13          Q.    What --
  14          A.    -- the fact that there was a linear
  15    relationship in exposure response.
  16          Q.    So you believe that we have enough
  17    scientific evidence right now as we sit here now
  18    to determine whether patient safety would be
  19    improved through monitoring of rivaroxaban?
  20          A.    I -- I -- I don't think that's what I've
  21    said.      No.
  22                What I told you was I have not formed the
  23    opinion that we have the data to prove that
  24    because the company hasn't done the study.
  25    However, I do believe we have enough scientific

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   1    data right now to justify putting information in
   2    the labeling for the physician.             And again, that's
   3    what -- that's one of the things I believe that
   4    FDA has pointed out in their statements as well
   5    within the -- within the document.              They -- they
   6    talk about the -- the reliability of that data and
   7    the fact that that data shows this effect, which
   8    means it could be put into the labeling if the
   9    company wanted to do that.
  10               MR. HOROWITZ:
  11                    Objection.      Move to strike.
  12               Nonresponsive.
  13    BY MR. HOROWITZ:
  14          Q.   What's the study that you're saying the
  15    company hasn't done?          Can you describe it for me?
  16          A.   It would be the study you just asked me
  17    about.     It would be the idea they would -- they
  18    would -- they would sign patients up and -- and
  19    look at the -- look at the monitoring and whether
  20    or not there was an effect to be able to change
  21    the profile of bleeding risk within patients.
  22          Q.   So --
  23          A.   They could do it retrospectively from
  24    looking back at the clinical data, comparison to
  25    that trial, what that trial showed versus what

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   1                    Well, that's something I haven't
   2               stated in my reports.          Let me think about
   3               what you're asking me.
   4                    Depends what you mean by "establish
   5               scientifically."        To a standard wherein
   6               you could make a specific claim within
   7               your label, you would have to do some type
   8               of scientific study.         To provide a label
   9               statement, though, about the utility of
  10               prothrombin for exposure-response
  11               monitoring, that data would not have to be
  12               collected.      That study would not have to
  13               be done.
  14    BY MR. HOROWITZ:
  15          Q.   Has there ever been a clinical trial that
  16    you're aware of comparing safety outcomes in a
  17    group that used rivaroxaban without monitoring to
  18    a group that used rivaroxaban with monitoring?
  19          A.   What was the first part of your question?
  20    A safety outcome study or . . .
  21          Q.   Yeah.
  22               Has there ever been any clinical trial
  23    comparing safety outcomes in a group that used
  24    rivaroxaban without monitoring to a group that
  25    used rivaroxaban with monitoring?

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   1          A.   I don't believe I'm aware of one.              No.
   2          Q.   Okay.    And just so I understand, you don't
   3    agree that to establish scientifically that safety
   4    outcomes would in fact be improved through
   5    monitoring rivaroxaban.           Your view is you actually
   6    don't need to do that type of trial and compare
   7    outcomes in a group using monitoring to outcomes
   8    in a group not using monitoring?
   9               MR. DENTON:
  10                    I object --
  11    BY MR. HOROWITZ:
  12          Q.   No need to do that?
  13               MR. DENTON:
  14                    I object to the form.          That's not what
  15               she said.
  16               THE WITNESS:
  17                    No.    I -- I agree.       I don't believe
  18               that is what I said.
  19                    What I'm telling you is that you have
  20               enough information already to know that
  21               there's a reliable relationship between
  22               exposure response by using PT.             And we
  23               know that the -- know it deals with the
  24               issue of -- of bleeds, because it's
  25               talking about the -- that part of the

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   1          A.   Okay.
   2          Q.   -- "result . . . compared to warfarin,
   3    over-dosing with Xarelto poses a greater risk to
   4    patient health."
   5               Do you see that?
   6          A.   Yes.
   7          Q.   And is it your opinion that -- that
   8    someone can actually overdose on Xarelto?
   9          A.   Well, overdosing as per having a -- too
  10    high of a blood level and -- and bleeding, yes.
  11          Q.   Okay.
  12          A.   And also the issue of what if somebody did
  13    take multiple tablets by mistake and -- and shot
  14    their blood level way up.
  15          Q.   Yeah.
  16          A.   About the -- it's the issue of no
  17    antidote --
  18          Q.   Right.
  19          A.   -- the idea that you can't shut the --
  20    the -- the response down.
  21          Q.   I got you.
  22               So you -- it's your view that if somebody
  23    takes a massive amount of Xarelto, either
  24    intentionally or by accident, that they're going
  25    to bleed?

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   1               MR. MEUNIER:
   2                    Objection to form.
   3               THE WITNESS:
   4                    No.    That's not what I said.          I said
   5               there's two situations:          overdosing as in
   6               for the individual, the dose is too high
   7               because of some -- some change in their
   8               physiology, for example.           So it could be
   9               the same 20-milligram dose but -- but when
  10               they take it, because their physiology has
  11               changed, they're overdosed internally, too
  12               high of a blood level.          Or in -- or it
  13               could be a situation where somebody
  14               double-doses by mistake.
  15                    So either one, the issue is when
  16               someone shows up with -- with a
  17               overexposure -- maybe I should -- maybe it
  18               was -- it would be more correct to use the
  19               word "overexposure," but -- because I'm
  20               not talking about just taking extra
  21               tablets.     I'm talking about people that --
  22               taking the same daily dose as they had
  23               been taking but there's some change in
  24               their physiology and now that level is --
  25               is an overdose for them, essentially.

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   1               Just like people with moderate -- the
   2               moderate renal failure, the dose was
   3               dropped to 15 because that helps control
   4               the -- the risks.
   5    BY MR. HOROWITZ:
   6          Q.   In forming your opinion that you just gave
   7    me about the risk of overdose with Xarelto and
   8    that you wrote in your report, "over-dosing with
   9    Xarelto poses a greater risk to patient health,"
  10    did you review the literature to see what happens
  11    to patients who actually do overdose on Xarelto?
  12          A.   I have seen the literature on that.              And
  13    that's an apples and oranges situation we can
  14    discuss, if you'd like, about absorption
  15    potential.
  16               But yes, absolutely, I did look at -- and
  17    I think I even have several of those in my list.
  18    It's not in my report.          But I have it -- in my
  19    reliance list, I think I have a couple of articles
  20    that talk -- from poison control centers that talk
  21    about high suicidal intent, things like that.
  22          Q.   Well, let's take a look at three articles
  23    real quick.       We can mark them again.          I'm going to
  24    mark as Plunkett 21 [sic] -- I'm sorry -- "Lack of
  25    significant bleeding despite large acute

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   1                        C E R T I F I C A T E
   2        This certification is valid only for
   3    a transcript accompanied by my original signature
   4    and original seal on this page.
   5        I, AURORA M. PERRIEN, Registered Professional
   6    Reporter, Certified Court Reporter, in and for the
   7    State of Louisiana, as the officer before whom
   8    this testimony was taken, do hereby certify that
   9    LAURA M. PLUNKETT, PH.D., after having been duly
  10    sworn by me upon the authority of R.S. 37:2554,
  11    did testify as hereinbefore set forth in the
  12    foregoing 168 pages; that this testimony was
  13    reported by me in the stenotype reporting method,
  14    was prepared and transcribed by me or under my
  15    personal direction and supervision, and is a true
  16    and correct transcript to the best of my ability
  17    and understanding; that the transcript has been
  18    prepared in compliance with transcript format
  19    guidelines required by statute or by rules of the
  20    board; and that I am informed about the complete
  21    arrangement, financial or otherwise, with the
  22    person or entity making arrangements for
  23    deposition services; that I have acted in
  24    compliance with the prohibition on contractual
  25    relationships, as defined by Louisiana Code of

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   1    Civil Procedure Article 1434 and in rules and
   2    advisory opinions of the board; that I have no
   3    actual knowledge of any prohibited employment or
   4    contractual relationship, direct or indirect,
   5    between a court reporting firm and any party
   6    litigant in this matter nor is there any such
   7    relationship between myself and a party litigant
   8    in this matter.        I am not related to counsel or to
   9    the parties herein, nor am I otherwise interested
  10    in the outcome of this matter.
  11

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  15                       AURORA M. PERRIEN, CCR, RPR
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 Golkow Technologies, Inc.                                          Page 715
